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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT



  UNITED STATES OF AMERICA

         V                                                         No. 3:23-cr-92 (VAB)


  LUIS PEREZ


                                       JURY VERDICT            RM



             I   . As to the offense of possession of a firearm in furtherance of a drug trafficking
                   crime, we the jury unanimously find the defendant LUIS PEREZ:

                                  Not Guilty                             Guilty




YOUR ANSWER MUST BE UNANIMOUS.

please double check your answer above and then sign and date this verdict form.


 /s/
Foreperson                                                        Date




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